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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY
                                 MINUTES OF PROCEEDINGS

                                                     December 6, 2021
OFFICE: CAMDEN                                      DATE OF PROCEEDINGS

JUDGE ROBERT B. KUGLER

COURT REPORTER: ANN MARIE MITCHELL

                                                    Docket #   CR. 19-191 (RBK)

TITLE OF CASE:
UNITED STATES OF AMERICA
           v.

BRIAN PUGH, et al

APPEARANCES:
David Walk, AUSA, and Christina Hud, AUSA, for Govt.
Michael Baldassare, Esq., for Defendant Brian Pugh
John Whipple, Esq., for Defendant Thomas Schallus
Jerome Ballarotto, Esq., for Defendant John Sher
Joseph Grimes, Esq., for Defendant Thomas Sher
Mark Catanzaro, Esq., for Defendant Christopher Broccoli



NATURE OF PROCEEDINGS: TELEPHONE STATUS CONFERENCE

Telephonic status conference held on the record.
Ordered jury selection set for August 29, 2022 at 9:00AM.
Ordered telephone status conference set for May 10, 2022 at 10:00AM.
Hearing on oral motion for Speedy Trial continuance order.
Ordered motion granted.
Order to be submitted.

Time commenced: 3:00PM          Time Adjourned: 3:15PM          Total Time: 0:15

                                                    s/Lawrence MacStravic
                                                    DEPUTY CLERK
